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UNITED STATES DISTRICT COURT
WESTERN DISTRICT ()F TENNESSEE
Eastern Divisionh

UNITED STATES ()F AMERICA

-vs- Case No. 1:05cr10047-001T

DENNIS LEE CHUMNEY

 

ORDER OF` TEMPORARY DETENTION
PENDING I-IEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
TUESDAY, JULY 12, 2005 at 10:00 A.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom No. 2, Fou rth Floor, United States Courthouse and Federal Building, l 1 l
South Highland, Jackson, TN. Pending this hearing, the defendant Shall be held in custody by the
United States Marshal and produced for the hearing
Date: July 8, 2005

AL$
S. THOMAS ANDERSON

UNITED STATES MAGISTRATE .TUDGE

 

’lfnot held immediately upon defendanl's first appearance, the hearing may be continued for up to three days upon
motion ol` the govemment, or up to five days upon motion ofthe defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 4?0 (31‘85) Order of Temporary Deteniion

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This notice confirms a copy of the document docketed as number 7 in
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Honorable J ames Todd
US DISTRICT COURT

